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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


JOHN DOE,

           Plaintiff,                     Case No. 2:18−cv−196

    v.                                    Hon. Gordon J. Quist

NORTHERN MICHIGAN UNIVERSITY, et
al.,

           Defendants.
                                    /



                                    ORDER
        The Court has been informed of the parties' agreement to settle this
matter and hereby orders that appropriate stipulated dismissal papers,
prepared for entry by United States District Judge Gordon J. Quist, shall be
filed with the Court by August 9, 2019.

         IT IS SO ORDERED.


Dated: July 12, 2019                            /s/ Ellen S. Carmody
                                               ELLEN S. CARMODY
                                               U.S. Magistrate Judge
